         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2024-0003
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GARY NELSON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Alachua County.
James M. Colaw, Judge.


                        August 23, 2024

PER CURIAM.

    AFFIRMED.

B.L. THOMAS, RAY, and NORDBY, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Gary Nelson, pro se, Appellant.

Ashley Moody, Attorney General, and Kristie Regan, Assistant
Attorney General, Tallahassee, for Appellee.




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